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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                            DALLAS DIVISION

 SHANNON DAVES, et al.
 Plaintiffs,


 v.                                                Civil Action No. 3:18-cv-00154


 DALLAS COUNTY, TEXAS, et al.,
 Defendants.


          DALLAS COUNTY CRIMINAL DISTRICT COURT JUDGES’
                        NOTICE OF APPEAL

TO THE HONORABLE U.S. DISTRICT COURT JUDGE DAVID C. GODBEY:

      Notice is hereby given that Defendants Dallas County Criminal District Court

Judges Brandon Birmingham, Ernest White, Hector Garza, Teresa Hawthorne, Tammy

Kemp, Jennifer Bennett, Amber Givens-Davis, Livia Liu Francis, Stephanie Mitchell,

Tracy Holmes, Robert Burns, Nancy Kennedy, Gracie Lewis, Dominique Collins, Carter

Thompson, Jeanine Howard, and Stephanie Fargo hereby appeal to the United States

Court of Appeals for the Fifth Circuit from the Court’s Order of September 20, 2018 [ECF

Doc. 164 &165].

      Dated: October 22, 2018

                                        RESPECTFULLY SUBMITTED,

                                        KEN PAXTON
                                        Attorney General of Texas

                                        J E F F E R E Y C. M A T E E R
                                        First Assistant Attorney General
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                                         /s/ Eric A. Hudson
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                            NOTICE OF ELECTRONIC FILING

      I hereby certify that I have electronically submitted for filing, a copy of the above

and foregoing in accordance with the Electronic Case Files System of the Northern

District of Texas on the 22nd day of October 2018.

                                         /s/ Eric A. Hudson
                                         ERIC A. HUDSON
                                         Assistant Attorney General
